case 2:05-cv-QM$HEQNTEDWQSFM%?U§£H§T Fi’)‘lzerli?izz Page'D 12

WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION FIE.'! BY__, ________L,g_
§§Z§‘T}f§'$i”]§§’i§‘§m § °'°"M`S “" 9"'3
Plaintiff, § Case No. 2:05cv2136 B/P CLERR¥H%W§{)B;§“%?LCDG~RT
v' ) W/D OF TN. MEM°|'IS
R & R MANAGEMENT, LLC ))
Defendants. §

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on JulyS , 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, R & R Management, LLC. pursuant to FRCP
55(a).

Plaintiff submitted sworn affidavit of service of complaint and waiver of service which was
signed and returned. Defendant had twenty days Within which to answer or otherwise plead.
Defendant R & R Management, LLC has failed to plead or otherwise defend as provided by the
Federal Rules of Civil Procedure.

In compliance with Rule 55(a), FRCP., plaintiff’s motion for entry of default against the
above-named defendant is GRANTED. In accordance to Rule 55(c) for good cause shown, the court
may set aside an entry of default.

Entered this 5th day of July, 2005.

Thomas M. Gould
Cler Court

By

 

/ 0 l Deput¢Clerk

Thls document entered on the docket sheet in compliance
with Rule 58 and/or 79(a) FRCP on /

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UNITED`TATES DSTCIRIT

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02136 was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Greg Hays

OZMENT COPELAND & HAYS
138 N. Third St.

an Floor

l\/lmephis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

